Case 1:02-cr-00062-IMK Document 350 Filed 02/09/10 Page 1 of 6 PageID #: 1159
Case 1:02-cr-00062-IMK Document 350 Filed 02/09/10 Page 2 of 6 PageID #: 1160
Case 1:02-cr-00062-IMK Document 350 Filed 02/09/10 Page 3 of 6 PageID #: 1161
Case 1:02-cr-00062-IMK Document 350 Filed 02/09/10 Page 4 of 6 PageID #: 1162
Case 1:02-cr-00062-IMK Document 350 Filed 02/09/10 Page 5 of 6 PageID #: 1163
Case 1:02-cr-00062-IMK Document 350 Filed 02/09/10 Page 6 of 6 PageID #: 1164
